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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                      Case No. 20-cv-13134
    Plaintiffs,                            Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                   HEATHER S. MEINGAST (P55439)
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__________________________________________________________________/

     INTERVENOR DEFENDANT ROBERT DAVIS’ EMERGENCY
     MOTION FOR THE COURT TO TAKE JUDICIAL NOTICE OF



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    INFORMATION CONTAINED IN NEWSPAPER ARTICLES
             PURSUANT TO FED.R.EVID. 201.


      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

(hereinafter “Intervenor Defendant Davis”), by and through his

attorney, ANDREW A. PATERSON, and for his Emergency Motion for

the Court To Take Judicial Notice of Information Contained In

Newspaper Articles Pursuant to Fed.R.Evid. 201, states the following:

                             I.    Concurrence

      Pursuant to Local Rule 7.1, prior to filing the instant motion,

counsel for Intervenor Defendant Davis sought concurrence from

Plaintiffs’ counsel, but concurrence was denied, necessitating the filing

of this motion.

             II.   Necessity for Immediate Consideration

      It is necessary for the Court to expedite the briefing and

adjudication of the instant motion because currently pending before the

Court is Plaintiffs’ emergency motion for temporary restraining order

(ECF No. 7), which is based solely on the facts as pled and alleged in

Plaintiffs’ amended complaint (ECF No. 6), including affidavits and

expert reports filed in support. (See Plaintiffs’ Motion for TRO, ECF No.


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7, PageID. 1832). The Court has granted expedited consideration of

Plaintiffs’ emergency motion for TRO. Thus, expedited consideration of

Intervenor Defendant Davis’ present motion is necessary before the

Court’s renders a decision on Plaintiffs’ pending motion for TRO.

                       III. Law and Legal Analysis

   A. The Court Should Take Judicial Notice of The December 4,
      2020 Detroit Free Press Article That Refutes and Debunks
      Truthfulness of Affidavit Submitted In Support of Plaintiffs’
      Emergency Motion for TRO.

      Rule 201 of the Federal Rules of Evidence allows the court to take

judicial notice of “adjudicative facts” which are "not subject to

reasonable dispute" because they are “either (1) generally known within

the territorial jurisdiction of the trial court or (2) capable of accurate

and ready determination by resort to sources whose accuracy cannot be

questioned.” FED. R. EVID. 201(b). Rule 201(c) of the Federal Rules of

Evidence further provides that the Court “must take judicial notice if a

party requests it and the court is supplied with the necessary

information.” FED. R. EVID. 201(c). Moreover, “[t]he court may take

judicial notice at any stage of the proceeding.” FED. R. EVID. 201(d).

      Here, Intervenor Defendant Davis is respectfully requesting the

Court to take judicial notice of the December 4, 2020 newspaper article

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published by the Detroit Free Press entitled: “Affidavit in Michigan

lawsuit makes wildly inaccurate claims about voter turnout in state.”1

A copy of the December 4, 2020 Detroit Free Press article is attached

hereto as Exhibit A. It is well-settled that a federal court can take

judicial notice of information contained in a newspaper article. See e.g.

Logan v. Denny's, Inc., 259 F. 3d 558, 578, n. 9 (6th Cir. 2001)(collecting

cases); U.S. ex rel. Dingle v. BioPort Corp., 270 F. Supp. 2d 968, 973

(W.D. Mich. 2003). The Court should take judicial notice of the

aforementioned December 4, 2020 Detroit Free Press article because it

refutes and debunks certain facts falsely attested to in the affidavit

filed by Russell James Jr. (ECF No. 1-14 PageID. 625-630) and the

Expert Report purportedly authored by Russel James Jr. (ECF No. 49-

3, PageID. 3111-3142), which were filed by Plaintiffs’ counsel in support

of Plaintiffs’ lawsuit and pending motion for TRO (ECF No. 7).

      The December 4, 2020 Detroit Free Press article concludes that

the information contained in Russel James Jr.’s affidavit (ECF No. 1-

14) and Expert Report (49-3) was FALSE because the numbers and




https://www.freep.com/story/news/local/michigan/detroit/2020/12/04/mic
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higan-lawsuit-makes-wild-claims-voter-turnout/3829654001/
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data cited in Russel James Jr.’s affidavit (ECF No. 1-14) and Expert

Report (ECF No. 49-3) “do not match the official statement of votes cast

in all but one jurisdiction, and many inflate the numbers significantly.

The official data show that the number of voters who cast a ballot in

November’s election did not exceed the number of registered voters in

any of the jurisdictions named.” (See Detroit Free Press Article

Exhibit A). The information contained and cited in Russel James Jr.’s

affidavit (ECF No. 1-14) and Expert Report (ECF No. 49-3) was so

egregiously false that the Detroit Free Press rated his claim:

“Pants on Fire!” (Exhibit A). It is important to note that submitting a

false affidavit to the Court provides a sufficient basis for the Plaintiffs,

Plaintiffs’ counsel, and the affiant, Russel James Jr., to be subjected to

sanction proceedings before this Honorable Court. See Chambers v.

NASCO, Inc., 501 U.S. 32, 46 (1991) (“[W]hen there is bad-faith conduct

in the course of litigation that could be adequately sanctioned under the

Rules, the court should ordinarily rely on the Rules rather than the

inherent power. But if in the informed discretion of the court, neither

the statute nor the Rules are up to the task, the court may safely rely

on its inherent power.”).


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      In addition to the December 4, 2020 Detroit Free Press article,

Intervenor Defendant Davis also requests the Court to take judicial

notice of the December 1, 2020 article published by the Associated Press

(AP) entitled: “Disputing Trump, Barr says no widespread election

fraud.”2 This article clearly underscores the fact that Plaintiffs’ instant

lawsuit and emergency motion for TRO (ECF No. 7) are frivolous and

meritless because the United States’ top law enforcement official,

Attorney General William Barr, “declared Tuesday the U.S. Justice

Department has uncovered no evidence of widespread voter fraud that

could change the outcome of the 2020 election.” (See December 1,

2020 AP Article attached as Exhibit B). Again, as noted, a federal

court can take judicial notice of information contained in a newspaper

article. See e.g. Logan v. Denny's, Inc., 259 F. 3d 558, 578, n. 9 (6th Cir.

2001)(collecting cases); U.S. ex rel. Dingle v. BioPort Corp., 270 F. Supp.

2d 968, 973 (W.D. Mich. 2003). Like the Detroit Free Press article, the

information contained in the AP article is reliable information that

refutes Plaintiffs’ frivolous claims.




2https://apnews.com/article/barr-no-widespread-election-fraud-

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                             CONCLUSION

      WHEREFORE, for the foregoing reasons, Intervenor Defendant

Davis prays that this Honorable Court GRANT his emergency motion

for the Court to take judicial notice of information contained in

newspaper articles published in the Detroit Free Press and Associated

Press.

Dated: December 5, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Intervenor Defendant
                                   Robert Davis
                                   2893 E. Eisenhower
                                   Ann Arbor, MI 48108
                                   (248) 568-9712




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                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 5th day of December, 2020, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: December 5, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Intervenor Defendant
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 Affidavit in Michigan lawsuit makes
 wildly inaccurate claims about voter
 turnout in state
 Clara Hendrickson
 Detroit Free Press
 View Comments

 This is one in a series of fact checks the Detroit Free Press is doing on public
 issues in conjunction with PolitiFact, a nonprofit national news organization.
 Suggest a fact check here.




 The claim: In 10 Michigan precincts, voter turnout
 reached 100% and in 6 precincts it surpassed 100%
 A lawsuit is asking a federal court in Michigan to force state leaders to
 disregard Michigan’s certified election results and award its 16 Electoral
 College votes to President Donald Trump. It includes an affidavit that makes
 wildly inaccurate claims about voter turnout in Michigan cities and townships.
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 The affidavit comes from Russell James Ramsland Jr., a cybersecurity analyst
 and former Republican congressional candidate. Ramsland is the one
 who mistook voting jurisdictions in Minnesota for Michigan towns in a
 separate flawed analysis of voter turnout. His latest analysis correctly names
 Michigan voting jurisdictions, but similarly arrives at inaccurate voter turnout
 rates.




 For instance, Ramsland claims that Detroit saw a turnout of 139.29%.
 The city’s official results show that turnout in the city was actually 50.88% of
 registered voters.

 When asked about the error in Ramsland’s affidavit, Gregory Rohl, the
 attorney representing the plaintiffs in the federal lawsuit in Michigan, said he
 and his team would investigate the data. “I’m always willing to learn and
 surely want the facts set forth to be accurate in any filing bearing my name,”
 Rohl wrote in an email to the Free Press.
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 Ramsland’s analysis gained public attention when a witness shared its
 inaccurate findings during a state House Oversight Committee hearing in
 Lansing Wednesday. During the hearing, Rudy Giuliani, Trump’s personal
 attorney, brought a number of witnesses to share allegations of election fraud
 and misconduct already discredited by election officials and in court. The
 witnesses included Col. Phil Waldron, who said he’s part of a team that looked
 into “election manipulation.” He claimed that “publicly available information”
 from Michigan analyzed in an affidavit shows excessive voter turnout that
 indicates election fraud. But the numbers do not square with the statement of
 votes cast from Michigan counties.

 More:Trump allies to Michigan judge: Force Whitmer to overturn results,
 award state to president

 More:Fiery Giuliani tells Michigan lawmakers election stolen, offers no
 credible evidence

 A chart included in Ramsland’s affidavit lists 21 Michigan cities and
 townships, five of which are alleged to have recorded a turnout above 90% in
 November’s election, while 10 purportedly saw turnout of exactly 100% and
 six surpassed 100%.
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 It is difficult to imagine that a turnout rate above 100% — let alone 782% in
 the City of North Muskegon or 461% in Zeeland Charter Township — would
 have escaped election officials compiling the statement of votes cast. But
 beyond the implausible turnout rates Ramsland alleges, there are other
 glaring problems with the list. Shelby Township is named twice. So is Zeeland
 Charter Township, with two vastly different turnout rates: 90.59% and
 460.51%. Ramsland lists “Fenton” without specifying Fenton City or Fenton
 Township. But the turnout Ramsland lists for Fenton does not match the
 turnout in either jurisdiction.

 The actual turnout statistics reveal the inaccuracy of Ramsland’s numbers. His
 figure for North Muskegon is off by a factor of 10: The actual number is
 78.11%, not 781.91%. For Zeeland Charter Township, he inflated the turnout
 nearly sixfold. For Grout Township and the City of Muskegon, his number is
 more than triple the correct number.

 There is one location where the actual turnout matches the turnout Ramsland
 lists: Grand Island Township, a tiny municipality split between an island in
 Lake Superior and a stretch of the Upper Peninsula’s mainland. Turnout there
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 was 96.77%, according to the official record, as 30 out of the township’s 31
 registered voters cast a ballot in November’s election.

 The 215.21% turnout rate Ramsland listed for Grout Township initially
 matched the data in the county’s statement of votes cast, but that’s because
 there was an error in the report. Gladwin County Clerk Laura Brandon-Maveal
 explained that the election results certified by the county are accurate, but that
 the number of registered voters used to compute the turnout rate was
 incorrect. “We have to hand punch in the total number of registered voters
 and they put in the wrong number of registered voters,” Brandon-Maveal said.
 The county released a corrected report Dec. 3.

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 In a second affidavit Ramsland filed in the same lawsuit Dec. 3, he said that
 the information source for his first affidavit was data from the state’s open
 data portal and Secretary of State’s election results page “that no longer
 exists.”

 The Secretary of State's office never shared township, city or precinct turnout
 data on its results page, according to Tracy Wimmer, a spokesperson for the
 office.

 This latest affidavit includes a new list of precincts in another attempt to
 demonstrate excessive turnout. It shows that “Spring Lake Township, Precinct
 6 — B” had a turnout of 120%. Spring Lake Township’s clerk said that there’s
 no such precinct. Spring Lake Township Precinct 6 had a turnout of 66.74% in
 November’s election. The list also shows that one precinct in the City of South
 Haven had a 100% turnout rate. The city’s clerk said that there are only eight
 voters in that precinct, all of whom voted.
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 Ramsland’s new list also showed 33 voting jurisdictions with turnout between
 86.79% and 96.77%. An initial review indicated many of these turnout rates
 are accurate. Michigan had record turnout statewide. President-elect Joe
 Biden carried the state by more than 154,000 votes.


 Our ruling
 An affidavit filed in a lawsuit in Michigan seeking to overturn the election
 purports to show turnout rates in Michigan that indicate election fraud.

 The numbers do not match the official statement of votes cast in all but one
 jurisdiction, and many inflate the numbers significantly. The official data
 show that the number of voters who cast a ballot in November’s election did
 not exceed the number of registered voters in any of the jurisdictions named.

 We rate this claim Pants on Fire!

 Louis Jacobson contributed to this report.

 Clara Hendrickson fact-checks Michigan issues and politics as a corps
 member with Report for America, an initiative of The GroundTruth Project.
 Contact Clara at chendrickson@freepress.com or 313-296-5743 for
 comments or to suggest a fact-check.
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 Disputing Trump, Barr says no widespread
 election fraud
 By MICHAEL BALSAMODecember 1, 2020




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 FILE - In this Oct. 15, 2020, file photo Attorney General William Barr speaks
 during a roundtable discussion on Operation Legend, a federal program to
 help cities combat violent crime in St. Louis. Attorney General William Barr
 said Tuesday, Dec. 1, that the Justice Department has not uncovered
 evidence of widespread voter fraud and has seen nothing that would change
 the outcome of the 2020 presidential election. (AP Photo/Jeff Roberson, File)


 WASHINGTON (AP) — Disputing President Donald Trump’s persistent,
 baseless claims, Attorney General William Barr declared Tuesday the U.S.
 Justice Department has uncovered no evidence of widespread voter fraud that
 could change the outcome of the 2020 election.

 Barr’s comments, in an interview with the The Associated Press, contradict the
 concerted effort by Trump, his boss, to subvert the results of last month’s
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 voting and block President-elect Joe Biden from taking his place in the White
 House.

 Barr told the AP that U.S. attorneys and FBI agents have been working to
 follow up specific complaints and information they’ve received, but “to date,
 we have not seen fraud on a scale that could have effected a different outcome
 in the election.”

 The comments, which drew immediate criticism from Trump attorneys, were
 especially notable coming from Barr, who has been one of the president’s most
 ardent allies. Before the election, he had repeatedly raised the notion that
 mail-in voting could be especially vulnerable to fraud during the coronavirus
 pandemic as Americans feared going to polls and instead chose to vote by
 mail.

 More to Trump’s liking, Barr revealed in the AP interview that in October he
 had appointed U.S. Attorney John Durham as a special counsel, giving the
 prosecutor the authority to continue to investigate the origins of the Trump-
 Russia probe after Biden takes over and making it difficult to fire him. Biden
 hasn’t said what he might do with the investigation, and his transition team
 didn’t comment Tuesday.

 Trump has long railed against the investigation into whether his 2016
 campaign was coordinating with Russia, but he and Republican allies had
 hoped the results would be delivered before the 2020 election and would help
 sway voters. So far, there has been only one criminal case, a guilty plea from a
 former FBI lawyer to a single false statement charge.

 RELATED STORIES:

    •   – Republicans call for resignation of Wisconsin election chair
    •   – Trump files lawsuit challenging Wisconsin election results
    •   – Wisconsin, Arizona certify Biden wins in presidential vote

 Under federal regulations, a special counsel can be fired only by the attorney
 general and for specific reasons such as misconduct, dereliction of duty or
 conflict of interest. An attorney general must document such reasons in
 writing.

 Barr went to the White House Tuesday for a previously scheduled meeting
 that lasted about three hours.
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 Trump didn’t directly comment on the attorney general’s remarks on the
 election. But his personal attorney Rudy Giuliani and his political campaign
 issued a scathing statement claiming that, “with all due respect to the Attorney
 General, there hasn’t been any semblance” of an investigation into the
 president’s complaints.




 Attorney General William Barr said Tuesday the Justice Department has not
 uncovered evidence of widespread voter fraud that would change the
 outcome of the 2020 presidential election. (Dec. 1)

 Other administration officials who have come out forcefully against Trump’s
 allegations of voter-fraud evidence have been fired. But it’s not clear whether
 Barr might suffer the same fate. He maintains a lofty position with Trump,
 and despite their differences the two see eye-to-eye on quite a lot.

 Still, Senate Democratic leader Chuck Schumer quipped: “I guess he’s the next
 one to be fired.”

 Last month, Barr issued a directive to U.S. attorneys across the country
 allowing them to pursue any “substantial allegations” of voting
 irregularities before the 2020 presidential election was certified, despite no
 evidence at that time of widespread fraud.
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 That memorandum gave prosecutors the ability to go around longstanding
 Justice Department policy that normally would prohibit such overt actions
 before the election was certified. Soon after it was issued, the department’s top
 elections crime official announced he would step aside from that position
 because of the memo.

 The Trump campaign team led by Giuliani has been alleging a widespread
 conspiracy by Democrats to dump millions of illegal votes into the system with
 no evidence. They have filed multiple lawsuits in battleground states alleging
 that partisan poll watchers didn’t have a clear enough view at polling sites in
 some locations and therefore something illegal must have happened. The
 claims have been repeatedly dismissed including by Republican judges who
 have ruled the suits lacked evidence.

                               ADVERTISEMENT

 But local Republicans in some battleground states have followed Trump in
 making unsupported claims, prompting grave concerns over potential damage
 to American democracy.

 Trump himself continues to rail against the election in tweets and in
 interviews though his own administration has said the 2020 election was the
 most secure ever. He recently allowed his administration to begin the
 transition over to Biden, but he still refuses to admit he lost.

 The issues they’ve have pointed to are typical in every election: Problems with
 signatures, secrecy envelopes and postal marks on mail-in ballots, as well as
 the potential for a small number of ballots miscast or lost.

 But they’ve gone further. Attorney Sidney Powell has spun fictional tales of
 election systems flipping votes, German servers storing U.S. voting
 information and election software created in Venezuela “at the direction of
 Hugo Chavez,” – the late Venezuelan president who died in 2013. Powell has
 since been removed from the legal team after an interview she gave where she
 threatened to “blow up” Georgia with a “biblical” court filing.

 Barr didn’t name Powell specifically but said: “There’s been one assertion that
 would be systemic fraud and that would be the claim that machines were
 programmed essentially to skew the election results. And the DHS and DOJ
 have looked into that, and so far, we haven’t seen anything to substantiate
 that.”
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 In the campaign statement, Giuliani claimed there was “ample evidence of
 illegal voting in at least six states, which they have not examined.”

 Full Coverage: Election 2020

 “We have many witnesses swearing under oath they saw crimes being
 committed in connection with voter fraud. As far as we know, not a single one
 has been interviewed by the DOJ. The Justice Department also hasn’t audited
 any voting machines or used their subpoena powers to determine the truth,”
 he said.

 However, Barr said earlier that people were confusing the use of the federal
 criminal justice system with allegations that should be made in civil lawsuits.
 He said a remedy for many complaints would be a top-down audit by state or
 local officials, not the U.S. Justice Department.

 “There’s a growing tendency to use the criminal justice system as sort of a
 default fix-all,” he said, but first there must be a basis to believe there is a
 crime to investigate.

 “Most claims of fraud are very particularized to a particular set of
 circumstances or actors or conduct. ... And those have been run down; they
 are being run down,” Barr said. “Some have been broad and potentially cover a
 few thousand votes. They have been followed up on.”

 ___

 Associated Press Writers Lisa Mascaro and Eric Tucker contributed to this
 report.
